Case 14-31229-sgj15            Doc 57       Filed 03/31/14 Entered 03/31/14 16:06:39                   Desc Main
                                           Document      Page 1 of 3                                        BTXN l05a (rev,09112)



                                UNITED STATES BANKRUPTCY COURT
                                  NORTHER¡Ù DISTRICT OF TEXAS

  In Re:
           MtGox Co., Ltd. (alWa MtGox
           KK)                                                $
                                                              $      Case    No.: 14-31229
                                        Plaintiff(s)          $
                                                              $
                                                              $      Adversary No.:
                                                              $
                                        Defendant(s)          0
                                                              $




                            APPLICATION FOR ADMISSION PRO HAC VICE


           Name: Engel,                                           George                       Larry
                       Last                                          First                       MI

  2.       Firm Name. Morrison & Foerster LLP

  3.       Address:   425 Market Street
                      San Francisco, CA 94105


  4.       Phone: (415) 268-7000                                       FAX: (41 5) 268-7522

           Email: LEngel@mofo. com

  5.       Name used to sign all pleadings:          G. Larry Engel

  6.       Retained by:     Coinlab, Inc.

  7.       Admitted    oî   1211311972                                and presently a member in good standing

           of the bar of the highest court of the state of California
           and issued the bar license number           of 53484

  8        Admitted to practice before the following courts
           Court:                                                             Admission Date
           U.S. Bankruptcy Court (Northern District of California)            12t13172
           U.S. Bankruptcy Court (Eastern District of California)             8125183
           U.S. Bankruptcy Court (Central District of California)             7112106

                                                                                                       Continued.
Case 14-31229-sgj15         Doc 57    Filed 03/31/14 Entered 03/31/14 16:06:39             Desc Main
                                     Document      Page 2 of 3




  9      Are youpresently a member in good standing of the bars of the courts listed above?
         E   Yes   lNo
         If "No," please list all courts which you   are no longer admitted to practice:




   10.   Have you ever been subject to a grievance proceeding or involuntary removal proceeding
         while a member of the bar of any state or federal court?
         E YesENo
         If "Yes," please provide details:




  1l     Other than minor traffic offenses, have you ever been charged, arrested, or convicted of a
         criminal offense or offenses?
         E   Yes   ENo
         If "Yes," please provide details:




  12.    Please list all cases in the United States Bankruptcy Court, Northern District of Texas in
         which you have filed forpro hac vice in the past three years:
         Date of   Application          Case No. and Style

          None




  13.    Local counsel of   record: Barry Bamett, Susman Godfrey L.L,P

  14.    Local counsel's address: 901 Main Street Suite 5100 Dallas, TX75202-3775




                                                                                           Continued"
Case 14-31229-sgj15         Doc 57    Filed 03/31/14 Entered 03/31/14 16:06:39             Desc Main
                                     Document      Page 3 of 3




          I respectfully request to be admitted to practice in the United States Bankruptcy Court for
  the Northern District of Texas for this cause only.

         I certify that I have read Dondi Properties Corp. V Commerce Savs. & Loan Ass'n,721
  F.D.R. 284 (N.D. Tex. 1988) (en banc), and the local civil and bankruptcy rules of this court and
  will comply with the standards of practice adopted in Dondi and with the local civil and
  bankruptcy rules.

         ¡  I am an ECF filer. I also certify that I have served a true and correct copy of this
  document upon each attorney of record and filed the application via ECF with the payment of
  $2s.00

         E  I am not an ECF filer. I also certify that I have served a true and correct copy of this
  document upon each attorney of record and the original upon the US Bankruptcy Court
  accompanied with the $25.00 filing fee on March 31,2014




  G. Larry Engel                                                       March 31,2014
  Printed N        of Applicant                                       Date




              of
